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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     GORDON FOOD SERVICE STORE LLC
     d/b/a Gordon Food Service at 2299 SW 8 Street
     and VISTA LINDA PLAZA, LTD.


                     Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Gordon Food Service Store, LLC doing business as the Gordon Food

     Service Store at 2299 SW 8 Street and Defendant Vista Linda Plaza, Ltd. for injunctive

     relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with Disabilities Act

     (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




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            3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                PARTIES

            4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff suffers

     from what constitutes a “qualified disability” under the ADA as he is disabled with

     neuropathy and nerve damage due to radiation and utilizes a wheelchair for mobility.

     Plaintiff’s disability is defined in 42 US Code §12102(1)(A), (2) and in 28 C.F.R.

     §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

            5.      Defendant Gordon Food Service Store, LLC (also referenced as “Defendant

     GFS,” “operator,” lessee” or “co-Defendant”) is a foreign limited liability company

     operating in Florida which is a subsidiary to Gordon Food Service (GFS) which is a

     privately held foodservice distributor based in Wyoming, Michigan serving the Midwest,

     Northeast, Southeast, and Southwest regions of the United States and coast-to-coast in

     Canada. Defendant GFS also owns and operates a chain of supermarkets called “Gordon

     Food Service Store.” Defendant GFS is the owner and operator of the Gordon Food Service

     Store located at 2299 SW 8 Street, Miami, Florida 33135.

            6.      Defendant Vista Linda Plaza, Ltd. (also referenced as “Defendant Vista,”

     “lessor,” “owner,” or “co-Defendant”) is the owner of real property located at 2299 SW 8

     Street, Miami, Florida 33135, more fully identified as Folio 01-4103-046-0020. Defendant’s

     Vista’s real property is built-out as a supermarket.




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                                               FACTS

            7.      At all times material hereto, Defendant Vista’s real property has been leased

     to co-Defendant GFS. The lessee in turn has operated its Gordon Food Service Store within

     that leased space.

            8.      The Gordon Food Service Store brand is an American supermarket chain.

     Gordon Food Service Stores sell produce, meat, seafood, baked goods, deli goods,

     beverages, dairy items and other grocery items. All Gordon Food Service Stores are places

     of public accommodation pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5).

     The Gordon Food Service Store located at 2299 SW 8 Street, Miami which is the subject of

     this complaint is also referenced as “GFS (supermarket),” “Gordon Food Service Store at

     2299 SW 8 Street,” “supermarket,” or “place of public accommodation.”

            9.      At all times material hereto, Defendant GFS was (and is) a company owning

     and operating supermarkets under the “Gordon Food Service Store” brand which are open to

     the public. Each of the Defendant’s supermarkets (including the Gordon Food Service Store

     at 2299 SW 8 Street) is a place of public accommodation subject to the requirements of Title

     III of the ADA and its implementing regulation; 42 U.S.C. §12182, §12181(7)(E) and 28

     C.F.R. §36.104(5).

            10.     As the operator of supermarkets which are open to the public, Defendant

     GFS is defined as a “Public Accommodation” within meaning of Title III because it is a

     private entity which owns, or operates a supermarket; 42 U.S.C. §12182, §12181(7)(E); 28

     C.F.R. §36.104(5).




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            11.     Due to the close proximity of Plaintiff’s home to the 2299 SW 8 Street

     Gordon Food Service Store, on May 12, 2021 Plaintiff went to that Gordon Food Service

     Store with the intent of purchasing groceries.

            12.     When parking within close proximity of the supermarket, Plaintiff

     encountered barriers to entry. Later, while shopping, Plaintiff went to the restroom and

     while in the restroom Plaintiff met multiple areas of inaccessibility due to the fact that he

     perambulates with the assistance of a wheelchair.

            13.     Based on the access impediments Plaintiff encountered when patronizing

     the Gordon Food Service Store, Plaintiff has been denied full and equal access by the

     operator/lessee of the Gordon Food Service Store (Defendant GFS) and by the owner/lessor

     of the commercial property which houses the supermarket (Defendant Vista).

            14.     On information and belief, Defendant GFS owns and operates 175 Gordon

     Food Service Stores, therefore Defendant GFS is aware of the ADA and the need to provide

     for equal access in all areas of its Gordon Food Service Stores. Defendant GFS’s failure to

     reasonably accommodate mobility impaired and disabled patrons by insuring that its Gordon

     Food Service Store located at 2299 SW 8 Street is fully accessible is/was willful, malicious,

     and oppressive and in complete disregard for the Civil Rights of the Plaintiff and in

     violation of 28 C.F.R. §36.303.

            15.     As the owner of commercial real property which is operated as a supermarket

     open to the public, Defendant Vista is also a “Public Accommodation” pursuant to 42

     U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). On information and belief, as an investor

     and owner of a commercial property being used as a public accommodation, Defendant

     Vista is aware of the ADA and the need to provide for equal access in all areas of its




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     commercial property which are open to the public. Therefore, Defendant Vista’s failure to

     reasonably accommodate mobility impaired and disabled patrons by ensuring that its

     commercial property is fully accessible is/was willful, malicious, and oppressive and in

     complete disregard for the Civil Rights of the Plaintiff and in violation of 28 C.F.R.

     §36.303.

             16.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             17.       Plaintiff continues to desire to patronize the Gordon Food Service Store

     located at 2299 SW 8 Street, but continues to be injured in that he continues to be

     discriminated against due to the barriers to access within that place of public

     accommodation, all which are in violation of the ADA.

             18.       Any and all requisite notice has been provided.

             19.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from the Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

             20.       The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Since 30 years have passed since enactment of the ADA, public accommodations and places

     of public accommodation have had adequate time for compliance.

             21.       Congress explicitly stated that the purpose of the ADA was to:




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                (i)     provide a clear and comprehensive national mandate for the
                         elimination of discrimination against individuals with disabilities;
                (ii)    provide clear, strong, consistent, enforceable standards addressing
                         discrimination against individuals with disabilities; and,
                (iii)   invoke the sweep of congressional authority, including the power to
                         enforce the fourteenth amendment and to regulate commerce, in
                         order to address the major areas of discrimination faced on a daily
                         by people with disabilities.

                        42 U.S.C. §12101(b)(1)(2) and (4).

                22.     Prior to the filing of this lawsuit, Plaintiff personally visited the Gordon Food

     Service Store at 2299 SW 8 Street in order to purchase groceries, however Plaintiff was

     denied adequate accommodation because, as a disabled individual who utilizes a wheelchair

     for mobility, Plaintiff met impediments to access. Therefore, Plaintiff has suffered an injury

     in fact.

                23.     Defendant GFS (lessee/operator of the Gordon Food Service Store at 2299

     SW 8 Street) and Defendant Vista (the owner/lessor of the real property housing that

     Gordon Food Service Store) have discriminated (and continue to discriminate) against

     Plaintiff by denying full and equal access to, and full and equal enjoyment of, goods,

     services, facilities, privileges, advantages and/or accommodations at the supermarket, in

     derogation of 42 U.S.C. §12101 et. seq., and as prohibited by 42 U.S.C. §12182 et. seq. by

     failing to barriers to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal

     is readily achievable.

                24.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Gordon Food Service Store located at 2299 SW 8 Street.




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             25.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

     a disabled patron, in derogation of 28 C.F.R. Part 36.

             26.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

             27.     The commercial space which is owned by Defendant Vista is leased to

     Defendant GFS who operates its Gordon Food Service Store from that location. This

     commercial space is in violation of 42 U.S.C. §12181 et. seq., the ADA and 28 C.F.R.

     §36.302 et. seq., and both the owner/lessor and the lessee are discriminating against the

     Plaintiff as a result of inter alia, the following specific violations:

       i.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff had difficulty exiting the vehicle, as the

             designated accessible parking spaces are located on an excessive slope. Failure to

             provide accessible means of egress from the parking to the supermarket due to the

             slope of the parking lot is in violation of 2010 ADA Standards for Accessible Design

             Section 207.1 and Section 403.3 which states that the running slope of walking

             surfaces shall not be steeper than 1:20 and the cross slope shall not be steeper than

             1:48 and Section 403.4 which requires change in slope to comply with Section 303,

             wherein Section 303.4 requires changes in level greater than ½ inch shall be ramped.




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            See also Section 4.6.3 of the ADAAG which states that parking spaces and access

            aisles shall be level with surface slopes not exceeding 1:50 (2%) in all directions.

      ii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

            property) (jointly and severally), Plaintiff had difficulty perambulating to the

            supermarket from the parking lot, as the curb ramp encroaches over the designated

            handicapped accessible parking space access isles. The fact that the curb ramp

            encroaches over the accessible parking space access aisles has violated Section 4.7.6

            of the ADAAG and Section 406.5 of the 2010 ADA Standards for Accessible

            Design. The curb ramp encroachment has also resulted in the designated parking not

            providing an accessible route to the supermarket which is in violation of C.F.R. Part

            36, Section 4.3.2(2) which states: “at least one accessible route shall connect

            accessible buildings … and spaces that on the same site.”

     iii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

            property) (jointly and severally), there are permanently designated interior spaces

            without proper signage, as the men’s accessible restroom sign is mounted on the

            hinge side of the door, which is in in violation of Section 4.1.3(16) and 4.30 of the

            ADAAG and Section 216.6 and Section 703 of the 2010 ADA Standards for

            Accessible Design.

      iv.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

            property) (jointly and severally), Plaintiff had difficulty opening the restroom door,

            as it does not have the required door pressure. The restroom door opening force

            resulted in the need for excessive weight/force to open/close. This is violative in

            many areas: The door opening force shall not be greater than that delineated at 28




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            C.F.R. Part 36.211. Section 404.2.7 of the 2010 ADA Standards for Accessible

            Design states that operable parts on doors and gates must comply with 309.4 and

            Section 404.2.9 states that the force required to activate the door shall be 5 pounds

            maximum. Section 404.2.8.1 requires that door and gate spring hinges must be

            adjusted so that the time to move the door to a position of 12 degrees from the latch

            is 5 seconds minimum, and 404.2.8.2 delineates door closing speed, and a violation

            of Section 4.13.11 of the 2010 ADA Standards for Accessible Design.

      v.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

            property) (jointly and severally), Plaintiff could not enter the restroom area without

            assistance, as the required maneuvering clearance on the push side of the restroom

            entry door is not provided. The fact that the restroom entry door does not provide

            the required maneuvering clearance is a violation Section 4.13.6 of the ADAAG and

            Section 404.2.4 of the 2010 ADA Standards for Accessible Design.

      vi.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

            property) (jointly and severally), Plaintiff could not enter the accessible stall area

            without assistance, as the required maneuvering clearance on the pull side of the

            door is not provided. This is a violation of Section 4.13.6 of the ADAAG and

            Section 404.2.4 of the 2010 ADA Standards for Accessible Design. Section 4.13.6

            states that the minimum maneuvering clearances for doors be within specifications

            shown in Fig. 25 and that the ground floor within the required clearance be level and

            clear. The clear maneuvering clearance for a front approach must be 48 min (and for

            side approach, 54 by 42 min), which not attained in the instant case.




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      vii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff had difficulty using the locking

             mechanism on the restroom door without assistance, as it requires tight grasping.

             Failure to provide door hardware which is accessible to the disabled is in violation of

             the 2010 ADA Standards for Accessible Design which requires that handles pulls

             and latches must have hardware in a shape that is easy to grasp with one hand as

             required by 28 C.F.R., Part 36 Section 4.13.9 and 2010 ADA Standards for

             Accessible Design, Section 404.2.7 (door hardware must be operable with a closed

             fist or a loose grip) and §309.4 (operable parts are to be operable with one hand and

             shall not require tight grasping, pinching, or twisting of the wrist and have a force

             required to activate no more than 5 pounds).

     viii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not open the restroom door without

             assistance, as the required maneuvering clearance on the pull side of the door is not

             provided. This is a violation of 4.13.6 of the ADAAG and Section 404.2.4 of the

             2010 ADA Standards for Accessible Design. Section 4.13.6 states that the minimum

             maneuvering clearances for doors be within specifications shown in Fig. 25 and that

             the ground floor within the required clearance be level and clear. The clear

             maneuvering clearance for a front approach must be 48 min (and for side approach,

             54 by 42 min), which not attained in the instant case.

      ix.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff had difficulty closing the stall door, as it is

             missing pull handles, which is in violation of Sections 4.27.4 of the ADAAG and




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             Sections 604.8.1.2 of the 2010 ADA Standards of Accessible Design, as the toilet

             compartment (stall) door does not provide pull handles on both sides of the door near

             the latch.

       x.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the required maneuvering clearance was not provided due to the

             encroaching item (trash can). The fact that the trash can is encroaching over the

             accessible water closet clear floor space is a violation of Section 4.16.2 of the

             ADAAG and Sections 604.3.1 of the 2010 ADA Standards for Accessible Design.

      xi.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the side wall grab bar is not in the required location from the rear wall.

             This is a violation of Section 4.16.4 and Figure 29 of the ADAAG and Sections

             604.5 of the 2010 ADA Standards for Accessible Design which states that the grab

             bar shall be 36 in (915 mm) minimum above the finished floor.

      xii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not use the lavatory sink inside the

             stall without assistance, as the lavatory sink does not provide the appropriate knee

             clearance of at least 27 in (685 mm) high 30 in (760 mm) wide, and 19 in (485 mm)

             deep underneath the sink, in violation of 28 C.F.R. Part 36, Section 4.24.3; 2010

             ADA Standards for Accessible Design and Sections 4.19.2 and 4.2.4 of the ADAAG

             and Sections 606.2 and 305.3 of the 2010 ADA Standards for Accessible Design.




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     xiii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not flush the toilet without

             assistance, as the flush valve is not mounted on the wide area. Because the flush

             valve is not mounted on the compliant side, this is in violation of Section 4.16.5 of

             the ADAAG and Section 604.6 of the 2010 ADA Standards for Accessible Design.

     xiv.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not use the lavatory sink outside the

             stall without assistance, as the lavatory sink does not provide the appropriate knee

             clearance of at least 27 in (685 mm) high 30 in (760 mm) wide, and 19 in (485 mm)

             deep underneath the sink, in violation of 28 C.F.R. Part 36, Section 4.24.3; 2010

             ADA Standards for Accessible Design and Sections 4.19.2 and 4.2.4 of the ADAAG

             and Sections 606.2 and 305.3 of the 2010 ADA Standards for Accessible Design.

      xv.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not use the lavatory mirror inside the

             stall without assistance, as the lavatory mirror is mounted too high, which is in

             violation of Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the ADAAG, and

             Section 603.3 of the2010 ADA Standards for Accessible Design.

     xvi.    As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff was exposed to a cutting/burning hazard

             because the lavatory pipes and water supply lines are not completely wrapped which

             is in violation of Section 4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA

             Standards of Accessible Design, because the lavatory pipes are not fully wrapped or

             maintained.




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     xvii.   As to Defendant GFS (lessee/operator) and Defendant Vista (owner/lessor of the

             property) (jointly and severally), Plaintiff could not use the lavatory mirror outside

             the stall without assistance, as the lavatory mirror is mounted too high, which is in

             violation of Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the ADAAG, and

             Section 603.3 of the2010 ADA Standards for Accessible Design.

             28.     Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

     are required to make the subject Gordon Food Service Store accessible to persons with

     disabilities since January 28, 1992. Defendants have jointly and severally failed to comply

     with this mandate.

             29.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the

     supermarket therein such that it is made readily accessible to, and useable by, individuals

     with disabilities to the extent required by the ADA.

             WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against

     Defendant Vista Linda Plaza, Ltd. (owner of the commercial property operated as a Gordon

     Food Service Store) and Defendant Gordon Food Service Store, LLC (lessee and operator of

     the Gordon Food Service Store located within the co-Defendant’s commercial property) and

     requests the following relief:

                a)        The Court declare that Defendants have violated the ADA;

                b)        The Court enter an Order directing Defendants to evaluate and neutralize

                their policies, practices and procedures toward persons with disabilities,

                c)        The Court enter an Order requiring Defendants to alter the commercial

                property and Gordon Food Service Store located at 2299 SW 8 Street such that it




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               becomes accessible to and usable by individuals with disabilities to the full extent

               required by the Title III of the ADA;

               d)        The Court award reasonable costs and attorneys fees; and

               e)        The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 1st day of July 2021.

                                                  Respectfully submitted,

                                                  /s/ J. Courtney Cunningham
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